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4
     Attorney for Defendant
5    THA HENG
6
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )      No. CR-S 04-205-GEB
                                     )
12                  Plaintiff,       )      STIPULATION AND ORDER
                                     )
13        v.                         )
                                     )      Date: August 4 2006
14   THA HENG, CLEVIE EARL BUCKLEY, )       Time: 9:00 a.m.
     JR., and CHHOM MAO,             )      Hon. Garland E. Burrell, Jr.
15                                   )
                    Defendants.      )
16   _______________________________ )
17
18        Defendant Tha Heng, through his attorney John Balazs, Chhom Mao,
19   through his attorney Tim Warriner, Clevie Buckley, through his attorney
20   Johnny Griffin, and the United States, through its attorney Assistant
21   U.S. Attorney Mary Grad, hereby stipulate and request that the Court
22   continue the status conference in the above-captioned case from July 7,
23   2006, to August 4, 2006, at 9:00 a.m.
24        This continuance is requested because defendant Tha Heng’s counsel
25   needs additional time to review surveillance CDs provided in discovery,
26   obtain necessary records, and conduct investigation.          In addition, the
27   parties intend to conduct additional settlement negotiations.
28        For these reasons, the parties stipulate and request that the
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1    Court exclude time within which the trial must commence under the
2    Speedy Trial Act from July 7, 2006 through August 4, 2006, for defense
3    preparation under 18 U.S.C. § 3161(h)(8)(B)(iv) (local code T4).          Time
4    is currently being excluded on this ground.
5                                                Respectfully submitted,
6         Dated:     July 7, 2006
7                                                /s/ John Balazs
                                                 JOHN BALAZS
8
                                                 Attorney for Defendant
9                                                THA HENG
10        Dated:     July 7, 2006
11                                               /s/ Tim Warriner
                                                 TIM WARRINER
12
                                                 Attorney for Defendant
13                                               CHHOM MAO
14        Dated:     July 7, 2006
                                                 /s/ Johnny Griffin
15                                               JOHNNY GRIFFIN
16                                               Attorney for Defendant
                                                 CLEVIE BUCKLEY
17
18                                               McGREGOR SCOTT
                                                 U.S. Attorney
19
          Dated:     July 7, 2006
20
                                          By:    /s/ Mary Grad
21                                               MARY GRAD
                                                 Assistant U.S. Attorney
22
23
                                                ORDER
24
          IT IS SO ORDERED.
25
     Dated:     July 7, 2006
26
27                                        /s/ Garland E. Burrell, Jr.
                                          GARLAND E. BURRELL, JR.
28                                        United States District Judge


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